            Case 3:13-mj-02550-DEA            Document 74          Filed 10/22/13         Page 1 of 3 PageID: 142
                                UNITED         STATES         DISTRICT           COURT



                     for the                    District of                          New Jersey

            United States of America
                                                                         ORDER SETTING CONDITIONS
                           V.                                                   OF RELEASE
          AVROHOM GOLDSTEIN
                                                                                  Case Number: 13-2550
                      Defendant

IT IS ORDERED on this 18TH day of OCTOBER, 2013 that the release of the defendant is subject to the following
conditions:
       (1) The defendant must not violate any federal, state or local law while on release.
       (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
            42 U.S.C. § 14135a.
       (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
            any change in address and/or telephone number.
       (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.
                                                        Release on Bond


Bail be fixed at   $______________________    and the defendant shall be released upon:

      ( ) Executing an unsecured appearance bond ( ) with co-signor(s)
      ( Executing a secured appearance bond ( with co-signor(s)                        (dYn
          and ( ) depositing in cash in the registry of the Court      of the bail fixed; and/or ( ) execute an
          agreement to forfeit designated property located at
          Local Criminal Rule 46.1 (d)(3) waived/not waived by the Court.
      ( ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
          in lieu thereof

                                              Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is further ordered that the release of the defendant is
subject to the condition(s) listed below:

IT IS FURTI-IER ORDERED that, in addition to the above, the following conditions are imposed:
      (\ ) Report to Pretrial Services (PTS’) as directed and advise them immediately of any contact with law
           enforcement personnel, including but not limited to. any arrest, questioning or traffic stop.
      () The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer not tamper
           with any witness, victim, or informant: not retaliate against any witness, victim or informant in this case.
      ( ) The defendant shall be released into the third party custody of____________________________________
            who agrees ‘a to supervise the defendant in accordance with all the conditions of release, “b,.I to use every effort
            to assure the appearance of the defendant at all scheduled court proceedings, and cc,) to notify the court
            immediately in the event the defyndant violates any conditions of release or disappears.


              Custodian Signature:                                                Date:
                                                                                                                            P \GE I OF S
      Case 3:13-mj-02550-DEA           Document 74           Filed 10/22/13    Page 2 of 3 PageID: 143
 ‘() The defendant’s travel is restricted to (    New Jersey (      Other     k.                  :
                                                                        (,    unless approved by Pretrial Services
     (PTS).
(\J   Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
     substance abuse testing procedures/equipment.
( Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
     home in which the defendant resides shall be removed by                         and verification provided to PTS.
( ) Mental health testing/treatment as directed by PTS.                      /            I
                                                                                                       t
( ) Abstain from the use of alcohol.                                                              ‘




(\) Maintain current residence or a residence approved by PTS.
( ) Maintain or actively seek employment and/or commence an education program.
( ) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
( \) Have no contact with the following individuals:
( Defendant is to participate in one of the following hothe confinement program components and abide by
      all the requirements of the program which cwill or ( ) will not include electronic monitoring or other
      location verification system. You shall pay’ all or part of the cost of the program based upon your ability to
      pay as determined by the pretrial services office or supervising officer.
       ( ) (i) Curfew. You are restricted to your residence every day ( ) from                     to          or
                    ( ) as directed by the pretrial services office or supervising officer; or
       ( ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
                    education; religious services; medical, substance abuse, or mental health treatment;
                    attorney visits; court appearances; court-ordered obligations; or other activities pre
                    approved by the pretrial services office or supervising officer. Additionally, employment
                    ( ) is permitted ( ) is not permitted.
       (\)    (iii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                    for medical necessities and court appearances. or other activities specifi,call,y approved by
                    thecourt.        / y                                                       / ‘           /
  ( ) Defendant is subject to the following computer/internet restrictions which may include manual
       inspection and/or the installation of computer monitoring software, as deemed appropriate by
       Pretrial Services. The defendant shall pay all or part of the cost of the monitoring software based
       upon their ability to pay, as determined by the pretrial services office or supervising officer.
       ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                   -




                    connected devices.
       ( )    (ii)  Computer  -   No Internet Access: defendant is permitted use of computers or connected
                    devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                    Servers, Instant Messaging, etc);
       ( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected
                    devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
                    Instant Messaging. etc.) for legitimate and necessary purposes pre-approved by Pretrial
                    Services at [ I home [ ] for employment purposes.
       ( )    (iv)  Consent   of Other Residents -by’ consent of other residents in the home. any computers in
                    the home utilized by other residents shall be approved by Pretrial Services, password
                    protected by a third party custodian approved by Pretrial Services, and subject to inspection
                    for compliance by Pretrial Services.
 (%)
       Other:        \                    ‘




 ( ) Other:     ‘-




 ( 3 Other:                                              ‘                               ‘
                Case 3:13-mj-02550-DEA                    Document 74               Filed 10/22/13          Page 3 of 3 PageID: 144                        Page 2 of
                                               ADVICE OF PENALTIES AND SANCTIONS


TO TIlE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                        Violating any of the foregoing conditions of release may result in the immediate issuance of a xvarranl
 for your arrest. a revocation of your release, an order of detention. a forfeiture of any bond, and a prosecution for contempi
 of court and could result in imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not mo
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year
 This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a crimina.
 investigation;            with a witness, victim, or informant: retaliate or attempt to retaliate against a witness, victim, 01
                       tamper


 informant:      intimidate
                 or                        intimidate
                                     or attempt to                   a witness, victim, juror,             the
                                                                                                   informant,          The penalties
                                                                                                                or officer of           court.


 for tampering,   retaliation,    intimidation
                                      or             significantly
                                                          are                     if they involve killing attempted killing.
                                                                                 more    serious                   a           or


                If,   release,
                      after          knowingly
                                       you       fail           to   the  conditions
                                                                      appear   as        release     of        surrender
                                                                                                                  require,   or   to                  to   serve


 sentence, you may be prosecuted          failing
                                              for               surrender and additional punishment
                                                           to appear or                                      be imposed. If may                            you ar


 convicted      of:


                (I)              punishable by death. life
                              an offense                                                                      fifteen
                                                                          imprisonment, or imprisonment for a term                of               years or more


                          — will be fined
                               you                     than $250,000
                                                     not more             imprisonedor             than 10
                                                                                                      for not more     both;      years,      or


                (2)              punishable by
                              an ofiense                                                           but less than
                                                           imprisonment for a term of five years or more,                                   fifteen years    —   yoi


                     will be fined             than $250,000
                                             not more              imprisoned
                                                                            or                than
                                                                                               for not more      both; five years,     or


                (3)       other felony
                              any               will be fined
                                                —   you                  than $250.000 imprisoned
                                                                          not more                         or     than            01
                                                                                                                            not more               two years.


                     both:
                (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, oi
                                               —




                     both.
                A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentencc
 you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                          Acknowledgment of the Defendant



              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of th
penalties and sanctions set forth above.

                                                                                          4
                                                                                              Defendant s’ Signature

                                                                           );                                      /



                                                                                                     City and State

                                                      Directions to the United States Marshal


    () The defendant is ORDERED released after processing.
    (    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
           that the defendant has posted bond and/or complied with all other conditions for release. If still in custody. the
           defendant must be produced before the appropriate judge at the time and place specified.
                                                                                                       F

   Date:          1 4i /3
                                                                                              JudRial fJicer ‘s Signature


                                                                                               Printed name and title
  (REV. 1/09)                                                                                                                                         PAGE 3 oF 3
